       Case 2:17-cv-01422 Document 9 Filed 04/05/17 Page 1 of 1 PageID #: 34




                  IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

RONALD LEE NEWMAN,                                    PLAINTIFF

V.                                                    CIVIL ACTION NO. 2:17-CV-01422
                                                      Judge Joseph R. Goodwin

PHOENIX FINANCIAL SERVICES, LLC,                      DEFENDANT

                                NOTICE OF DISMISSAL

         Pursuant to Rule 41 of the Federal Rules of Civil Procedure, the Plaintiff hereby

gives notice of dismissal of this civil action without prejudice.


                                                       RONALD LEE NEWMAN

                                                       BY COUNSEL

HAMILTON, BURGESS, YOUNG
       & POLLARD, pllc


BY: /s/ Steven R. Broadwater, Jr.
    Ralph C. Young (W. Va. Bar #4176)
         ryoung@hamiltonburgess.com
      Christopher B. Frost    (W. Va. Bar #9411)
         cfrost@hamiltonburgess.com
      Steven R. Broadwater, Jr. (W. Va. Bar #11355)
         sbroadwater@hamiltonburgess.com
      Jed R. Nolan (W. Va. Bar #10833)
        jnolan@hamiltonburgess.com
      Counsel for Plaintiff
      P. O. Box 959
      Fayetteville, WV 25840
      304-574-2727



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